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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 OCLC, Inc.
                                                      Case No. 2:24-cv-00144-MHW-EDP
                Plaintiff,

        v.
                                                      Judge Michael H. Watson
 ANNA’S ARCHIVE, f/k/a PIRATE
 LIBRARY MIRROR, et al.,                              Magistrate Judge Elizabeth A.
                                                      Preston Deavers
                Defendants.


                 APPLICATION TO CLERK FOR ENTRY OF DEFAULT
                   AGAINST DEFENDANT ANNA’S ARCHIVE, f/k/a
                           PIRATE LIBRARY MIRROR



       Plaintiff OCLC, Inc. respectfully applies to the Clerk of Court for an entry of default

against Defendant Anna’s Archive, f/k/a Pirate Library Mirror as prescribed by Rule 55(a) of the

Federal Rules of Civil Procedure.

       Rule 12(a)(1)(A) of the Federal Rules of Civil Procedure requires a defendant to file and

serve a responsive pleading within twenty-one days after being served with the summons and

complaint. Defendant Anna’s Archive was served with the summons, complaint, and other case

initiating documents in this matter on March 28, 2024. Proof of Service Decl. of Kathryn M.

Brown, Dkt. 17. Anna’s Archive has not filed an answer or other responsive pleading, or otherwise

made an appearance, in this case since being served. Accordingly, Defendant has failed to plead

or otherwise defend as provided by the Federal Rules of Civil Procedure. The facts supporting this

application are contained in the pleadings, the record before the Court, and the accompanying

Declaration of Kathryn M. Brown, attached here as Exhibit 1.
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                                            Respectfully submitted,


                                            /s/ Jeffrey M. Walker         _
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                                CERTIFICATE OF SERVICE

       On June 28, 2024, this document and the accompanying attachment was filed electronically

with the Clerk of the United States District Court for the Southern District of Ohio, Eastern

Division, which will electronically serve a copy of the foregoing on all counsel of record for all

parties, and will be served upon Defendant Anna’s Archive at the following email addresses:

       AnnaArchivist@proton.me
       AnnaDMCA@proton.me
       AnnaArchivist+security@proton.me
       domainabuse@tucows.com

                                                    /s/ Jeffrey M. Walker            _
                                                    Jeffrey M. Walker

                                                    An Attorney for Plaintiff OCLC, Inc.
